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AO 91 (Rev. 01/09) Criminal Complaint


                                      UNITED STATES DISTRICT COURT                                          By
                                                                for the
                                                      Western District of Texas

                 United States of America                          )
                                 v.                                )
                                                                   )        Case No. SA: 14-MJ-1 005
YOLANDA GONZALEZ
                                                                   )



                              Defendant

                                                      CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my     knowledge and belief.

          On or about the date of 10/09/2014          in the county of     BEXAR               in the WESTERN            District of
  TEXAS                  ,   the defendant violated    21   U. S. C.   §   841(a)(1)   ,   an offense described as follows:

POSSESSION WITH INTENT TO DISTRIBUTE COCAINE, IN VIOLATION OF 21 U.S.C. 841(a)(1) and (b)(1)(C).


PENALTY: 0 TO 20 YEARS IMPRISONMENT, UP TO $1 MILLION FINE, MANDATORY 3 YEAR TERM OF
SUPERVISED RELEASE, MANDATORY $100 ASSESSMENT.




          This criminal complaint is based on these facts:
SEE ATTACHED AFFIDAVIT




         I   Continued on the attached sheet.



                                                                                           /nant's           signature

                                                                            COBEY CROW, TFO DEA
                                                                                         Printed name and title

 Sworn to before me and signed in my presence.


 Date:   OCt to                         ?fLj

 City and state:         SAN ANTONIO, TEXAS                                  PAMELA A. MATHY, U.S. MAGISTRATE JUDGE
                                                                                           Printed name and title
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                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

UNITED STATES OF AMERICA                             §
                                                     §
                Plaintiff,                           §
                                                     §
v.                                                   §       MAGISTRATE NO.
                                                     §
YOLANDA GONZALEZ,                                    §
                                                     §
                Defendant.                           §



                             AFFIDAVIT IN SUPPORT OF COMPLAINT

       I, Cobey Crow, being duly sworn, deposes and says that I am a Task Force Officer with the

Drug Enforcement Administration ("DEA"), duly appointed according to law and acting as such.

The following is based on information provided to me by the individuals more fully identified

below and from my own personal observations:

       1.   On October 9, 2014 law enforcement officers received information from a reliable

source of information that an individual would possibly be in possession of illegal automatic

firearms at the business address of 7515 Grissom Rd., Suite 110, San Antonio, TX, which is

currently located in the Western District of Texas. Officers with the San Antonio Police

Department arrived upon the location and located Suite 110, which is a business that is open to

customers, and encountered Yolanda Gonzalez inside the building. At that time, officers requested

consent to inspect the building for any possible firearms. Gonzalez denied consent to inspect for

firearms and informed Officers that they would have to get a warrant if they wanted to inspect the

building. Gonzalez did state that she operates the business and has access to the office space.
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       2. Officers with the San Antonio Police Department and a Bexar County District Attorney's

Office Investigator then obtained a search warrant for the address at 7515 Grissom Rd., San

Antonio, TX.

       3. As a result   of the search warrant, officers discovered six firearms as well as

approximately 250 grams of a white powdery substance that field-tested positive for the

characteristics of cocaine. The suspected cocaine was discovered in an office desk of which

Gonzalez claimed ownership. Also discovered along with the cocaine, was a scale and plastic

baggies which is indicative of those involved with the distribution of cocaine. Gonzalez was

placed under arrest, and the investigation was referred to agents and officers of the Drug

Enforcement Administration who then approached Gonzalez and attempted to question her, after

reading her Miranda rights. At that time, Gonzalez declined to answer any questions and requested

to speak to an attorney.

       4. Based on the above, there is probable cause to believe that the Yolanda Gonzalez

possessed with intent to distribute cocaine.


                                                      //
                                                CBEY (?OW
                                                               /v
                                                                /
                                                Task Force Officer
                                                Drug Enforcement Administration



Sworn to before me this     I    day of October, 2014



                                                PAMELA A. MATHY
                                                UNITED STATES MAGISTRATE JUDGE
